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A() 91 (Rev S/Ol) Criminal Complaint

 

United States District Court ' , 'a“”dJ'B'a°'ey'°'°"i

_SOUTHERN ` DISTRICT OF ‘ ’I'EXAS
MCALLEN DIVISION

 

 

111\111‘131) s'r,\'ri'cs or AMERICA ~ .
` V- _ 4 ' CRIMINAL COMPLAfNT

Franciseo Reyes - 4 ». 1
Case Number`: M-19- 0015 -Ml

AKA: Francisco Reyes-Reyes ’

|AE YOB: 1961
Honduras

(Namc and Address et` Def'cndant)
l

l, the undersigned complainant being duly sworn state the following is true and correct to the best ot` my '
knowledge and beliet`. On,or about . January 2l 2019 in Hidalqo COun'ty, in

the Southern District of Texas

(/`/ac/<. Smtz/,lo/y Langucrgc ofOffense)
being then and ther c an alien who had previously been deported t"10m the United States to Ilondulas 111 pursuance oflaw, and
lhe1 eatiel was round near Los Ebanos, 'l e\as, within the Southel 11 District ot`Texas, the Attol ney General ofthe United States and/01 \
the Sec1etaiy ot` llomeland Seculity, not theretofore having consented to a reapplication by the defendant for admission into the
United States; l

in violation of l`itle __8__ United States Code, Seetion(s) ' 1326 (Fe|ony) \
I fu1the1 state that l am a(n) Senior Patrol Agent and that this complaint is based 011 the '

following facts:

Fra nc1sco Reyes was encountered by Border Patrol Agents near Los Ebanos, Texas on January 02, 20]9. The investigating agent
established that the Det`endant was an undocumented alien and requested record checks. The Defendant claims to have illegally
entered the United States on January 02, 2011 near Hidalgo, 'I`exas. Record`checks revealed the Det`endant was formally
l)cported/Exeluded from the United Stat‘es 011 July 28, 1998 through Houst'ou, Texas. Prior to Deportation/Exclusion the Det`endant
was instl ueted not 10 xet111n to the United States without permission fiom the U. S. Att01 ney General and/or the Secr etary ot`Homeland
Se(. 111 itv. ()11 Au<1 ust ()l, 1990, the Defenclant was convicted of l`1anspb1ting Certain Aliens within the United States and was sentenced
1011inety-cight (93) days confinement and three yeals (3) Supexvised Release Term. _ 1

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Continued on the attached sheet and made a part /?fthis complaint

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f#g 0.//3 /$ . ' ‘
Swor o bef01e me and subscribed 1n my p1esence, . Signature of Complqinant

Januag/ 3, 2019 ' § ' z VW"'\'~ Ke|len Méador '- Senior Patro| Agent

 

' ` /(;Z’§€)M»¢,
Peter F Crmstjy U S Magistrate Judge '

Name and Tit|e 'of Judicial Officer - Signature of Judicial Officer /

 

